Case 2:18-cv-02421-JFW-E Document 86 Filed 06/08/18 Page 1 of 2 Page ID #:1214



1    LECLAIRRYAN LLP
     Brian C. Vanderhoof, CA Bar No. 248511
2     Brian.Vanderhoof@leclairryan.com
     725 S. Figueroa Street, Ste. 350
3    Los Angeles, CA 90017
     Phone: (213) 337-3247 / Fax: (213) 624-3755
4
     WILEY REIN LLP
5    Stephen J. Obermeier (pro hac vice)
       sobermeier@wileyrein.com
6    Phone: (202) 719-7465 / Fax: (202) 719-7049
7    Matthew J. Gardner, CA Bar No. 257556
      mgardner@wileyrein.com
8    Phone: (202) 719-4108 / Fax: (202) 719-7049
9    Rebecca J. Fiebig (pro hac vice)
      rfiebig@wileyrein.com
10   Phone: (202) 719-3206 / Fax: (202) 719-7049
11   1776 K Street NW
     Washington, DC 20006
12
     Attorneys for Defendants
13   Stonington Strategies LLC and Nicolas D. Muzin
14
                         UNITED STATES DISTRICT COURT
15
                        CENTRAL DISTRICT OF CALIFORNIA
16
                       WESTERN DIVISION AT LOS ANGELES
17
     BROIDY CAPITAL MANAGEMENT LLC
18   and ELLIOTT BROIDY
                                                      Case No. 2:18-CV-02421-JFW-E
19                           Plaintiffs,
                                                      The Honorable John F. Walter
20         v.
21   STATE OF QATAR, STONINGTON                       DECLARATION OF LEAD
     STRATEGIES LLC, NICOLAS D. MUZIN,                TRIAL COUNSEL RE:
22   GLOBAL RISK ADVISORS LLC, KEVIN
     CHALKER, DAVID MARK POWELL,                      COMPLIANCE WITH LOCAL
23   MOHAMMED BIN HAMAD BIN                           RULES GOVERNING
     KHALIFA AL THANI, AHMED AL-                      ELECTRONIC FILINGS
24   RUMAIHI, and DOES 1-10,
25                           Defendants.
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Case 2:18-cv-02421-JFW-E Document 86 Filed 06/08/18 Page 2 of 2 Page ID #:1215



1                    DECLARATION OF STEPHEN J. OBERMEIER
2         I, Stephen J. Obermeier, hereby declare as follows:
3          1.    I am a partner at the law firm of Wiley Rein LLP. I represent Defendant
4    Stonington Strategies LLC and Defendant Nicolas D. Muzin (the “Stonington
5    Defendants”) in this action,1 and I hereby submit this declaration in accordance with
6    section 3(a) of Judge John F. Walter’s Standing Order.
7          2.    I am Lead Trial Counsel for the Stonington Defendants in this case, and I
8    assumed the duties of Lead Trial Counsel for the Stonington Defendants from
9    attorney Matthew J. Gardner.
10         3.    I am registered as an ECF user in the Central District of California, and
11   my email address of record is sobermeier@wileyrein.com.
12         4.    I consent to electronic service and receipt of filed documents by electronic
13   means.
14        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the
15   foregoing is true and correct.
16

17   Dated: June 8, 2018                            Respectfully submitted,
18                                                  WILEY REIN LLP
19                                                  LECLAIRRYAN LLP
20
                                                    By: /s/ Stephen J. Obermeier
21
                                                    Stephen J. Obermeier
22
                                                    Attorney for Defendants Stonington
23                                                  Strategies LLC and Nicolas D. Muzin
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      Counsel’s appearance and filing of this declaration prior to filing a motion to dismiss
28   should not be construed as indicating consent to jurisdiction on the part of Defendants
     Stonington Strategies LLC or Nicolas D. Muzin.
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